              Case 23-11069-CTG              Doc 663-1       Filed 09/26/23        Page 1 of 2




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                   Chapter 11

YELLOW CORPORATION, et al.,                              Case No. 23-11069 (CTG)
                                                         (Jointly Administered)
                 Debtors.1
                                                         Hearing Date: October 23, 2023 at 10:00 a.m.
                                                         Objection Deadline: October 10, 2023 at 4:00 p.m.

                                         NOTICE OF MOTION

         PLEASE TAKE NOTICE that Corporate Lodging Consultants Inc. and Comdata, Inc.

filed the Motion of Corporate Lodging Consultants Inc. and Comdata, Inc., Pursuant to

Bankruptcy Code Section 362(d), Bankruptcy Rule 4001, and Local Rule 4001-1, for Relief From

the Automatic Stay to Effectuate Setoff of Security Deposit (the “Motion”).

         PLEASE TAKE FURTHER NOTICE that a Hearing on the Motion will be held on

October 23, 2023 at 10:00 a.m. (ET) before The Honorable Craig T. Goldblatt, United States

Bankruptcy Judge, at the United States Bankruptcy Court for the District of Delaware, 824 North

Market Street, Wilmington, Delaware, 19801.

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the entry of an order

approving the Motion must be filed by October 10, 2023 at 4:00 p.m. (ET) (the “Objection

Deadline”) with the United States Bankruptcy Court for the District of Delaware, 3rd Floor, 824

North Market Street, Wilmington, Delaware, 19801. At the same time, a copy of any objection

must be served upon the undersigned counsel so as to be received on or before the Objection

Deadline.



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  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal place of
business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue, Overland Park, Kansas
66211.
             Case 23-11069-CTG          Doc 663-1      Filed 09/26/23     Page 2 of 2




       PLEASE TAKE FURTHER NOTICE that, if you fail to respond in accordance with

this notice, the Court may grant the relief requested and enter a final order without further notice.


Dated: September 26, 2023
Wilmington, Delaware                          CROSS & SIMON, LLC

                                              By: /s/ Kevin S. Mann
                                              Kevin Mann (Del. Bar No. 4576)
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                                              Counsel to Corporate Lodging Consultants Inc.
                                              and Comdata, Inc.




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